           Case 2:19-cr-00366-JVS Document 10 Filed 05/23/19 Page 1 of 1 Page ID #:28
                                                                                                       CLERK, U.S. DISTRICT
     Date Approved: 's Z 3 Zoe                 Extension:    ~v 9 too

     By:      ~lTr ~1 . EGus.~
           ❑ PSA Officer (for rnateria! witness only)     AUSA
                                                                                                              SAY 23 ~Oi9
     Signature•                                                                                      CENTR,4L DISTRICT OF
                                                                                                     BY                                                i
                                                                                                                                                 v
                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
     UNITED STATES OF~AMERICA                                                    CASBNUMBER
                                                                PLAINTIFF,                     ~
                                         ~.                                                                  1 ~i ~ a, ~~ _j
                                                                                   AFFIDAVIT OF SURETY(NO JUSTIFICATION)

                                ZS                          DEFENDANT(S).                                                                ;

      I,the undersigned surety,state on oath thatl permanently reside within thejurisdiction ofthe United Stakes District Court
  for the Central District of California at the address indicated below or in(City, State):


     I further state that I understand the provisions ofthe bond executed by the above-named defendantfor wHich this affidavit
  supports,and I agree to be bound as a condition ofthis bond by the provisions ofLocal Criminal Rule 46-6 ass set _forth at the
  bottom ofthis document and further acknowledge and agree that I and my personal representatives are bou nd as a condition
  ofthis bond,jointly and severally with the defendant and other sureties, to,pay to the.United States of ArYlerica the sum of
 $     ~~0 c~ ~~ .                   in the event that the bond is forfeited.

    I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
 employment ofthe defendant immediately upon becoming aware ofsuch fact.

     I further agree and understand that, uniess otherwise ordered. by the Caurt, the bond for which this affidavit supports is
 a continuing bond(including any proceeding on appeal or review)which shall continue in full force attd effect until such time
 as the undersigned is duly exonerated by Order ofthe Court.

      I declare under the penalty of perjury that the foregoing is true and correct Executed on this ~3
                                                                                                       ~ ~                                      day. of
              ~.L                         ,20 1 S

                                                                                       xxx-xx-                                       ~
      Name o~ Surety                             ~—                               Social Security Number ofSurety (Last 4digits only)
                                                                                                                       •~
                                 '
     Signature        Surety                                                      Address of Surety
                                                                                                                                   .~
               d ~7 D ~~G
     Relationship ofSurety                                                        City, State, Zip Code

Loca!Crlmlan[Rule 4f~6
     Bond- Sur~nriary Adjudfca[ion ofObligation
A bond or undertaking presentedforfiling shcdl contain consent oJthe principal and surety 1haf, in
                                                                                                       case ofdefault or contumacy on the parr ofthe
princlpnl or surety, the Court, upon[en(10J days notice, ~nqy ~•errder qjudg~~rent sunu~tarily!n
                                                                                                 accorxfance with the obldgation uirdertaken a►td issue a
writ of execullon upon suchjudgment. An tndentnitee or pa~~[y in interest seeking a judgment on a bond
                                                                                                           or under[aking shallprdceed by tifotionfor
Sunwra~y Adjudlecrtlon of Oblfga[ion andExecution. Se►vfce nay be made on a corporate surely asprovided
                                                                                                               !n 3/ U.SC f 9306.;




CR-04 (02/09) ,                                    AFFIDAVIT OF SURETY (NO JUSTIFICATION)
